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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE: ETHICON PHYSIOMESH                    :       MDL DOCKET NO. 2782
FLEXIBLE COMPOSITE                           :       1:17-MD-02782-RWS
HERNIA MESH PRODUCTS                         :
LIABILITY LITIGATION                         :
                                             :
This document relates to:                    :       Civil Action No.:
                                             :
Sandy Sipes,                                 :
      Plaintiff                              :
                                             :
       v.                                    :
Ethicon, Inc. and Johnson & Johnson,         :
       Defendants.                           :


                                SHORT FORM COMPLAINT

       Comes now the Plaintiff named below, and for her Complaint against the Defendants

named below, incorporates the Master Complaint in MDL No. 2782 by reference. Plaintiff

further shows the court as follows:

1.     Plaintiff Implanted with Physiomesh

       Sandy Sipes

2.     Plaintiffs Spouse (if applicable)

       Not Applicable

3.     Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator)

       Not Applicable

4.     State of Residence and Citizenship of each Plaintiff (including any Plaintiff in a
       representative capacity) at time of filing of Initial Complaint

       Arkansas

5.     State of Residence and Citizenship at the Time of Implantation

       Arkansas
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6.     District Court and Division in which personal jurisdiction and venue would be proper
       absent direct filing.
       United States District Court of the Eastern District of Arkansas

7.     Defendants (Check Defendants against whom Complaint is made):

       ☒      A. Ethicon, Inc.

       ☒      B. Johnson & Johnson

8.     Basis of Jurisdiction

       ☒      Diversity of Citizenship (28 U.S.C. § 1332(a))

       ☐      Other: _________________________________

       A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

              Paragraphs 1-13

       B. Other allegations of jurisdiction and venue:
              Pursuant to this Court’s order (Practice and Procedure Order Nos. 2 and 3),
              Plaintiff has authority to directly file into this Court.
9.
 Date(s) Plaintiff was Implanted   Hospital(s) where Plaintiff was          Implanting Surgeon
 with Physiomesh (list date of     implanted with Physiomesh
 each implant surgery, where       (include City and State of Hospital)
 applicable, on separate line)
 On or about 11/20/2014            St. Bernard’s Medical Center,            Horace L. Wiggins, MD
 LOT# HG8DLXB0                     Jonesboro, AR
 CAT# PHY1520R


10.    Counts in the Master Complaint brought by Plaintiff(s):
       ☒      Count I - Strict Product Liability - Defective Design

       ☒      Count II - Strict Product Liability - Failure to Warn

       ☒      Count III - Strict Product Liability - Manufacturing Defect

       ☒      Count IV - Negligence
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☒      Count V - Consumer Protection Laws (Please identify applicable State Consumer
       Protection law(s) and state any additional facts and legal basis for application of
       State Consumer Protection law(s) in this case)
       ARK CODE ANN§ 4-88-101 et seq
☒      Count VI - Gross Negligence

☐      Count VII - Loss of Consortium

☒      Count VIII - Punitive Damages

☒      Count IX - Discovery Rule, Equitable Tolling/Estoppel (Please state any
       additional facts and legal basis for Discovery Rule and Tolling below)
       Despite diligent investigation by Plaintiff into the cause of her injuries, including
       consultations with her medical providers, the nature of her injuries and damages,
       and their relationship to the hernia mesh product(s) was not discovered, and
       through reasonable care and diligence could not have been discovered until a date
       within the applicable statute of limitations for filing Plaintiff’s claims. Therefore,
       under appropriate application of the discovery rule, Plaintiff’s suit was filed well
       within the applicable statutory limitations period.
☐      Other Count(s) (Please state factual and legal basis for other claims not included
       in the Master Complaint below):
       _____________________________________________________________
☒      Jury Trial is Demanded as to All Counts

☐      Jury Trial is NOT Demanded as to Any Count
                                      /s/Andrea J. Giovannone________
                                             Attorney for Plaintiff
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